Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 1 of 12




                 EXHIBIT B-072
      Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 2 of 12




                   IN THE SUPERIOR COURT OF FULTON COUNTY

                                     STATE OF GEORGIA                               FILED IN OFFICE


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurney
Boris Epshteyn                                )


   CERTIFICATE OF MATEIUAL WITNESS PURSUANT TO UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.

       Upon the petition of Fani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

           related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 3 of 12




    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that Boris Epshteyn, born August 14, 1982, (hereinafter, "the Witness") is a

    necessary and material witness to the Special Purpose Grand Jury's investigation. The

    Court further finds that the Witness currently resides in Princeton, Middlesex County,

    New Jersey.

 4. Based on the representations made by the State in the attached "Petition for

    Certification ofNeed for Testimony Before Special Purpose Grand Jury" the Court

    finds that the Witness is known to be affiliated with both former President Donald

    Trump and the Trump Campaign.

 5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that the Witness served as an aide to the Trump Campaign in the weeks

    following the November 2020 election.

 6. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that in January 2022, the Witness gave a publicly broadcast interview with

    MSNBC. During the interview, the Witness was asked whether he was involved in a
Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 4 of 12




    plan organized by the Trump Campaign to have individuals purporting to be duly

    elected and qualified presidential electors submit false certificates of vote to former

    Vice President Michael Pence and others. In response to the question, the Witness

    stated, "Yes, I was part of the process, to make sure there were alternate electors for

    when, as we hoped, the challenges to the seated electors would be heard and would be

    successful - part of the 12th Amendment of the Constitution and the Electoral Count

    Act." The Witness further stated that he acted "under the leadership of Rudy

    Giuliani."

 7. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that the Witness, based on the above, is a necessary and material witness. The

    Witness possesses unique knowledge concerning the logistics, planning, and

    execution of efforts by the Trump Campaign to submit false certificates of vote to

    former Vice President Michael Pence and others. The Witness possesses unique

    knowledge concerning relevant communications between the Witness, former

    President Donald Trump, the Trump Campaign, and other known and unknown

    individuals involved in the multi-state, coordinated efforts to influence the results of

    the November 2020 elections in Georgia and elsewhere. Finally, the Witness's

    anticipated testimony is essential in that it is likely to reveal additional sources of

    information regarding the subject of this investigation.

 8. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.
Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 5 of 12




 9. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Wednesday, September 21, 2022, at 9:00 a.m., at the Superior

    Court of Fulton County, Fulton County Courthouse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney anticipates that the

    Witness's testimony will not exceed one day.

 JO.The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

 11. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states, while

    traveling to and from this Court for the purpose of testifying for this case.

 12. The State of Georgia is a participant in a reciprocal program providing for the

    securing of witnesses to testify in foreign jurisdictions which likewise provide for

    such methods of securing witnesses to testify in their courts.
     Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 6 of 12




       13. This Certificate is made for the purpose of being presented to a judge of the Superior

           Court of Middlesex County, New Jersey, by the Office of the Middlesex County

           Prosecutor or his duly authorized representative, who is proceeding at the request and

           on behalf of the Office of the Fulton County District Attorney.

       WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,
                      Vt;
       This the ll_    day of August, 2022.




                                                                              ney
                                                    Superior Court of Fulton County
                                                    Atlanta Judicial Circuit
                                                    State of Georgia
Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 7 of 12




                    Exhibit A
   Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 8 of 12




[N RE: REQUEST FOR
        SPECIAL PURPOSE
        GRAND JURY

               OlRIDERAPPROVING lREOUEST FOR SPECIAL PURPOSE
               GRAND JURY PURSUANT TO O.C.G.A. §15-12-100, et seq.

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Couti of Fulton Cowrty a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-!00(b).

       IT [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.1, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge dete1mines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

        Pursuant to O.C.G.A. § 15-12-10l(a), the Honorable Robert C. I. McBurney is hereby

assigned to supervise and assist the special purpose grand jury, and shall charge said special

purpose grand jury and receive its reports as provided by law,
   Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 9 of 12




       Thia authorization,hall include the investigationof any overt acts or predicate acts

relating to the subject of the special purposegrandjury's investigativepurpose. The special

purpose grandjury, when making its presentmentsand reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendationsconcerningcriminal prosecutionas it shall see

fit. Furthermore, the provisions ofO.C.G.A. § 15-12-83shall apply.

       This Court also notes that the appointmentof a special purpose grandjury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlogof criminal matters that has accumulatedas a

result of the COVID-19 Pandemic.

       IT IS FURTHERO,"-;,-,.__..,,.__,D.
                                      this Ordershall be filed in the Office of the Clerk of
                                    ·,-\ "
the Superior Court of Fulto County.~         \,


       SOOWE-,ffl~:1:•                                                    2022



                               CHRISTOP         S. BRASHER;@UEF JUDGE
                               SuperiorCourt of FultonCounty
                               AtlantaJudicial Circuit
Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 10 of 12




                        Exhibit B
         Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 11 of 12



                        OFFICE OF THE FULTON COUNTY DISTRICTATTORNEY
                                    ATLANTA JUDICIAL CIRCUIT
                                 136PRYORSTREETSW,3RD FLOOR
                                     ATLANTA, GEORGIA30303
 -     ':Jr('J,I,,,.                                             TELEPHONE404-612-4639
        ..!/.•-hY!r;;
,!Jl;'111
DistrictAttorney



     The Honorable Christopher S. Brasher
                                                                             tDt2--E.X-DODDl7
     Chief Judge, Fulton County SuperiorCourt                                 FILED IN OFFICE
     Fulton County Courthouse                                                                        J)
     185CentralAvenue SW, Suite T-8905
     Atlanta, Georgia30303

     January20, 2022

     Dear Chief Judge Brasher:

     I hope this letter finds you well and in good spirits.Please be advisedthat the DistrictAttorney's
     Officehas received information indicatinga reasonableprobabilitythat the State of Georgia's
     administrationof elections in 2020, includingthe State's electionof the Presidentof the United
     States,was subject to possible criminaldisruptions.Our officehas also learnedthat individuals
     associatedwith these disruptionshave contactedother agenciesempoweredto investigatethis
     matter,includingthe Georgia Secretaryof State,the GeorgiaAttorney General,and the United
     StatesAttorney's Office for the NorthernDistrictof Georgia,leavingthis office as the sole
     agencywithjurisdiction that is not a potentialwitnessto conductrelated to the matter.As a
     result, our office has opened an investigationinto any coordinatedattempts to unlawfullyalter
     the outcomeof the 2020 electionsin this state.

     We have made efforts to interviewmultiplewitnessesand gather evidence,and a significant
     numberof witnesses and prospectivewitnesseshaverefusedto cooperatewith the investigation
     absenta subpoenarequiring their testimony.By way of example,GeorgiaSecretaryof State
     Brad Raffensperger,an essential witnessto the investigation,has indicatedthat he will not
     participatein an interview or otherwiseoffer evidenceuntil he is presented with a subpoenaby
     my office. Please see Exhibit A, attachedto this letter.

     Therefore,I am hereby requesting, as the electedDistrictAttorneyfor Fulton County,pursuant
     to O.C.G.A.§ 15-12-100et. seq., that a special purposegrandjury be impaneled for the purpose
     of investigatingthe facts and circumstancesrelatingdirectly or indirectlyto possible attemptsto
     disruptthe lawful administrationof the 2020 electionsin the State of Georgia. Specifically,a
     specialpurpose grand jury, which will not have the authorityto return an indictmentbut may
     makerecommendationsconcerning criminalprosecutionas it shall see fit, is needed for three
     reasons:first, a special purpose grand jury can be impaneledby the Court for any time period
     requiredin order to accomplish its investigation,whichwill likely exceed a normal grandjury
          Case 1:23-cv-03721-SCJ Document 1-83 Filed 08/21/23 Page 12 of 12




     term; second, the special purpose grandjury wouldbe empoweredto reviewthis matter and this
     matteronly, with an investigatoryfocus appropriateto the complexityof the facts and
     circumstancesinvolved; and third, the sitting grandjury wouldnot be requiredto attemptto
     addressthis matter in addition to their normalduties.

     Additionally,I am requesting that, pursuantto O.C.G.A.§ 15-12-101,a Fulton CountySuperior
     CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
     investigationand duties.

     I have attacheda proposed order impanelingthe specialpurposegrandjury for the consideration
     ofthe Court.

    '\spectful~,            /

      -><c::,.--\--\ ~--'-~~--
<F~~
"--mstrict Attorney, Atlanta Judicial Circuit

     ExhibitA: Transcript of October 31, 2021 episodeof Meet the Press on NBC News at 26:04
     (videoarchived at https;//www.youtube.com/watch?v=B7  l cBRPgt9k)
     ExhibitB: Proposed Order

      cc:
      TheHonorableKimberly M. EsmondAdams
     The HonorableJane C. Barwick
      The HonorableRachelle Camesdale
     The HonorableThomas A Cox, Jr.
     The HonorableEric Dunaway
     The HonorableCharles M. Eaton, Jr.
     The HonorableBelinda E. Edwards
     TheHonorableKelly Lee Ellerbe
     The HonorableKevin M. Fanner
     The HonorableUral Glanville
     The HonorableShakura L. Ingram
     The HonorableRachel R. Krause
     The HonorableMelynee Leftridge
     The HonorableRobert C.I. McBurney
     The HonorableHenry M. Newkirk
     The HonorableEmily K. Richardson
     The HonorableCraig L. Schwall, Sr.
     The HonorablePaige Reese Whitaker
     The HonorableShermela J. Williams
     FultonCounty Clerk of Superior Court .Cathelene"Tina" Robinson
